           Case MDL No. 3047 Document 84 Filed 09/07/22 Page 1 of 4




                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

  IN RE: SOCIAL MEDIA
  ADOLESCENT ADDICTION /
  PERSONAL INJURY PRODUCT                   MDL No. 3047
  LIABILITY LITIGATION



   PLAINTIFF TAWAINNA ANDERSON’S INTERESTED PARTY RESPONSE TO
       MOTION TO TRANSFER ACTIONS PURSUANT TO 28 U.S.C.§ 1407




Dated: 9/7/2022                          /s/ Jeffrey P. Goodman
                                         Jeffrey P. Goodman, Esq.
                                         Saltz Mongeluzzi & Bendesky P.C.
                                         1650 Market Street, 52nd Floor
                                         Philadelphia, PA 19103
                                         Tel: (215) 496-8282
                                         Fax: (215) 496-0999
                                         Email: jgoodman@smbb.com
            Case MDL No. 3047 Document 84 Filed 09/07/22 Page 2 of 4




I.     Background.

       Plaintiff, Tawainna Anderson, Individually and as Administratrix of the Estate of Nylah

Anderson (“Plaintiff Anderson”) filed an action in the Eastern District of Pennsylvania on May

12, 2022 against Defendants TikTok, Inc. (“TikTok”) and ByteDance, Inc. (“ByteDance”) titled

Tawainna Anderson, Individually and as Administratrix of the Estate Nylah Anderson, a deceased

minor v. TikTok, Inc. and ByteDance, Inc., E.D.P.A. Case No. 2:22-cv-01849 (the “Anderson

Action”). Plaintiff Anderson is cognizant of the Panel’s August 17, 2022 Order that Responses

were due August 30, 2022. However, Plaintiff Anderson was not provided notice by the plaintiffs

moving for transfer and coordination or consolidation, or defendants, including Defendants

TikTok and ByteDance who are named Defendants in the Anderson Action, of this potential MDL

and thus was not aware of these deadlines until they had passed. Notwithstanding the August 30,

2022 date for Responses, Plaintiff Anderson respectfully requests the Panel’s indulgence to file

this Response for the limited purpose of opposing the inclusion of the Anderson Action (and

potentially similar actions) in any such potential MDL due to the fundamentally different nature

of the Anderson Action from those the plaintiffs are seeking consolidation of here. Plaintiff

Anderson takes no position as to whether the coordination or consolidation sought is proper or

improper, only that the Anderson Action is clearly distinct and not subject to inclusion in any

potential MDL.

II.    The Anderson Action is materially distinct from those the plaintiffs are seeking
       consolidation of here, and does not share common questions of fact or law.

       The Anderson Action is a wrongful death action that arises from the death of 10-year-old

Nylah Anderson that occurred when she attempted a viral TikTok challenge known as the

“Blackout Challenge” that Defendants sent directly to Nylah through her For You Page (“FYP”).

See Dkt. 63-3, Anderson Action Complaint. Defendants TikTok’s and ByteDance’s product—the
             Case MDL No. 3047 Document 84 Filed 09/07/22 Page 3 of 4




TikTok app and its associated algorithm(s)—utilizes a “system that delivers content to each user

that is likely to be of interest to that particular user” and “each person’s feed [also known as the

FYP] is unique and tailored to that specific individual.” Id. ¶ 3. Defendants’ algorithm(s) thus (1)

determined the dangerous and deadly Blackout Challenge was likely to be of interest to10-year-

old Nylah Anderson, and (2) sent her the challenge by directly putting it on her FYP. Id. ¶ 4. On

May 12, 2022, Plaintiff the Anderson Action and brought strict product liability and negligence

claims against TikTok and ByteDance, alleging that their product was defective due to the

intentional delivery of the dangerous Blackout Challenge video to a 10-year-old who then

attempted to mimic what she observed in said video and died. Id.

       Plaintiff Anderson’s claims against TikTok and ByteDance are clearly distinct from the

“product liability, negligence, misrepresentation, fraud, unjust enrichment, breach of warranty, and

infliction of emotional distress” claims that were brought by the plaintiffs seeking coordination or

consolidation herein. See Dkt. 1 ¶ 2. The claims that plaintiffs are seeking consolidation or

coordination of are those related to allegations that the defendants’ “social media products are

intentionally designed to be addictive and utilize sophisticated algorithms, and other defectively

designed and unreasonably dangerous features, to maximize user time and engagement” causing

harm. Id. These claims are thus premised on the addictive qualities of the defendants’ social media

products.

       In contrast, Plaintiff Anderson’s claims are grounded in allegations that TikTok’s and

ByteDance’s defectively designed product sent a specific harmful video to a child who died as a

result. While the Anderson Action alleges that TikTok’s and ByteDance’s social media product

is defectively designed, the factual underpinnings of Plaintiff Anderson’s claims are vastly

different than those of the plaintiffs seeking transfer and consolidation and thus there are limited,
              Case MDL No. 3047 Document 84 Filed 09/07/22 Page 4 of 4




if any, common questions of law and fact between the Anderson Action and those at issue in this

potential MDL. Although it does not appear that any party believes that actions such as the

Anderson Action1—discrete wrongful death actions premised on the defective TikTok product

sending specific harmful videos to minors—should be included in this potential MDL, Plaintiff

Anderson files the instant Interested Party Response to make that clear.

        Plaintiff Anderson filed a Notice of Presentation of Oral Argument (Dkt. 66) and

respectfully requests the opportunity to explain to the Panel that the Anderson Action should not

be swept up in the potential MDL sought by plaintiffs.

                                                             Respectfully submitted,

Dated: 9/7/2022                                              /s/ Jeffrey P. Goodman
                                                             Jeffrey P. Goodman, Esq.
                                                             Saltz Mongeluzzi & Bendesky P.C.
                                                             1650 Market Street, 52nd Floor
                                                             Philadelphia, PA 19103
                                                             Tel: (215) 496-8282
                                                             Fax: (215) 496-0999
                                                             Email: jgoodman@smbb.com




1
  Plaintiff Anderson’s undersigned counsel also represents the families of a number of other minor victims who died
attempting to mimic dangerous videos sent directly to them by the defective TikTok product, which have not been
filed but which are under active investigation.
